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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                                                           SEP O9 2022
                                   CASE NO. 22-MJ-8332-BER                  ANGELA E. NOBLE
                                                                           CLERK U S DIST. CT.
                                                                           SD . OF FLA . -WPS .


 IN RE SEALED SEARCH WARRANT                            FILED UNDER SEAL

 _____________                           /



                                        ORDER TO SEAL

         The United States of America, having applied to this Court for an Order sealing the

 Notice Regarding Additional Partial Unsealing of Search Warrant and its accompanymg

 attachment, and the Court finding good cause:

         IT IS HEREBY ORDERED that the Notice Regarding Additional Partial Unsealing of

 Search Warrant, the accompanying attachment, the Motion to Seal, and this Order shall be

 filed under seal until further order of this Court.

         DONE AND ORDERED in chambers at Palm Beach County, Florida, this              f     day

 of September, 2022 .




                                              UNITED STATES MAGISTRATE JUDGE
                                              SOUTHERN DISTRICT OF FLORIDA


 Deliver copy to:
